




NO. 07-08-0196-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 28, 2009

______________________________



JESUS PERALES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 371ST DISTRICT COURT OF TARRANT COUNTY;



NO. 1067039D; HONORABLE MOLLEE WESTFALL



AND WILLIAM BRIGHAM, JUDGES

_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Appellant, Jesus Perales, pleaded guilty to the offense of aggravated assault causing serious bodily injury. &nbsp;Appellant also pleaded true to one prior felony enhancement. &nbsp;Subsequently, the trial court, after conducting a punishment hearing and receiving a pre-sentence report, assessed appellant’s punishment at 40 years confinement in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;This appeal followed. &nbsp;We affirm.

Appellant’s attorney has filed an 
Anders
 brief and a motion to withdraw. &nbsp;
Anders v. California
, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 498 (1967). &nbsp;In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;
Id
. at 744-45. &nbsp;In compliance with 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court’s judgment. &nbsp;Additionally, counsel has certified that he has provided appellant a copy of the 
Anders
 brief and motion to withdraw and appropriately advised appellant of his right to file a 
pro se
 response in this matter. &nbsp;
Stafford v. State
, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991). &nbsp;The court has also advised appellant of his right to file a 
pro se
 response. &nbsp;Appellant has not filed a response
.

By his 
Anders
 brief, counsel raises grounds that could possibly support an appeal, but concludes the appeal is frivolous.
 &nbsp;We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S. Ct. 346, 102 L. Ed. 2d 300 (1988); 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005). &nbsp;We have found no such arguable grounds and agree with counsel that the appeal is frivolous.



Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s judgment is affirmed.
(footnote: 1)


Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
 





Do not publish. 

FOOTNOTES
1:1 
Counsel shall, within five days after this opinion is handed down, send his client a copy of the opinion and judgment, along with notification of appellant’s right to file a 
pro se
 petition for discretionary review. &nbsp;
See
 
Tex. R. App. P
. 48.4.




